     Case 1:21-mj-02093-EGT Document 3 Entered on FLSD Docket 01/20/2021 Page 1 of 1

                                                   MINUTE ORDER                                                                      Page 3

                                      Magistrate Judge Edwin G. Torres
                            King Building Courtroom 10-5                                         Date: 1/19/21             Time: 1:30 p.m.
Defendant: Gabriel Augustin Garcia                     J#: 25948-509           Case #: 21-2093-MJ-TORRES (SEALED)
AUSA: Jonathan Stratton                                             Attorney: Ian McDonald
Violation: Warr/Complaint/USDC for the District of Columbia/Certain
           Acts During Civil Disorder, Aiding and Abetting/Knowingly     Surr/Arrest Date: 1/19/2021                       YOB: 1980
           Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority/Violent Entry and Disorderly Conduct on Capitol
           Grounds

Proceeding: Initial Appearance                                                    CJA Appt:
Bond/PTD Held: Yes          No          Recommended Bond:
Bond Set $100,000 w/10% and $200,000 personal                       Co-signed by: Family member, friend or business partner
at:         surety
     Surrender and/or do not obtain passports/travel docs, also passcard Language:

      Report to PTS as directed/or           x’s a week/month by                           Disposition:
      phone:         x’s a week/month in person                                             Motion to UNSEAL Granted
      Random urine testing by Pretrial
      Services                                                                              Defendant consents to appear by VTC
      Treatment as deemed necessary                                                         Defendant sworn – The Court finds
      Refrain from excessive use of alcohol                                                 Defendant NOT qualified for court
      Participate in mental health assessment & treatment                                   appointed counsel, but appoints the
      Maintain or seek full-time employment                                                 AFPD for purposes of bond and
      No contact with victims/witnesses, except through counsel                             removal in the SD/FL. The parties
      No firearms AND Surrender concealed weapons permit                                    recommend a personal surety bond.
      Not to encumber property                                                              The Court does not approve and sets a

      May not visit transportation establishments                                           bond.
      Home Confinement/Electronic Monitoring and/or                                         Defendant WAIVES Removal on the
      Curfew          pm to           am, paid by                                           record and the Court approves.
      Allowances: Medical needs, court appearances, attorney visits,
      religious, employment
      Travel extended to:       SD/FL & D/Columbia for court with itinerary to PTS
                                                                                             Time from today to ________ excluded
      Other: Maintain Residence                                                              from Speedy Trial Clock
NEXT COURT APPEARANCE         Date:                 Time:                Judge:                                   Place:
Report RE Counsel:
Bond Hearing:
Prelim/Arraign or Removal:
Status Conference RE: Bond 1/22/21  10:00 am Miami Duty
D.A.R. EGT-01:1-19-2021-ZOOM-1:58 pm and 2:22 pm    Time in Court: 24
                             s/Edwin G. Torres                                                                 Magistrate Judge
